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                   10
                                                   UNITED STATES DISTRICT COURT
                   11
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   12
                                                           OAKLAND DIVISION
                   13

                   14
                        In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                   15   Litigation,
                                                                      [PROPOSED] ORDER MODIFYING CASE
                   16                                                 SCHEDULE

                   17   This Document Relates to: all actions

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COOLEY LLP
ATTORNEYS AT LAW                                                                                [PROPOSED] ORDER
 SAN FRANCISCO                                                                         MODIFYING CASE SCHEDULE
                                                                                 CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR            Document 498-2         Filed 05/01/23    Page 2 of 3



                    1             On April 26, 2023, Plaintiffs filed an administrative motion pursuant to Civil Local rules
                    2   6-3 and 7-11 to extend the pretrial schedule in this matter. ECF No. 492. Google does not oppose
                    3   the requested modifications to the case schedule but asks the Court to prevent Plaintiffs from using
                    4   responsive materials or information produced in response to discovery served after their motion
                    5   was filed in Plaintiffs’ anticipated motion for class certification. ECF No. __. Having considered
                    6   the parties’ submissions, the Court finds that there is good cause to modify the case schedule and
                    7   grant the relief sought by Google, as set forth below.
                    8             The previous schedule and the new schedule that will govern this matter are as follows:
                    9                     EVENT                  CURRENT CASE                 PARTIES’ STIPULATED
                   10                                              SCHEDULE                    PROPOSED REVISED
                                                                  (Dkt. No. 391)                  SCHEDULE
                   11
                             Class Certification Motion    Motion: May 23, 2023              Motion: July 14, 2023
                   12                                      Opposition: July 25, 2023         Opposition: Sept. 29, 2023
                   13                                      Reply: September 5, 2023          Reply: November 17, 2023
                                                           Hearing: TBD                      Hearing: TBD
                   14

                   15        Fact Discovery Cut-Off        November 10, 2023                 January 19, 2024

                   16        Opening Expert Reports        December 8, 2023                  February 9, 2024
                   17        Rebuttal Expert Reports       January 12, 2024                  March 15, 2024
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                             Close of Expert Discovery     February 9, 2024                  April 12, 2024
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                             Dispositive/Daubert           March 12, 2024                    May 17, 2024
                   20        Motions
                   21
                             Pretrial Conference           TBD                               TBD
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                             Jury Trial                    TBD                               TBD
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                   24   //
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COOLEY LLP
ATTORNEYS AT LAW                                                                                           [PROPOSED] ORDER
 SAN FRANCISCO                                                            1                       MODIFYING CASE SCHEDULE
                                                                                            CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR              Document 498-2         Filed 05/01/23      Page 3 of 3



                    1               The Court also rules that if Plaintiffs serve additional discovery requests after their Motion,
                    2   any responsive materials or information produced in response to such discovery may not be used
                    3   in Plaintiffs’ anticipated motion for class certification.
                    4               IT IS SO ORDERED.
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                    6   Dated: _________________                                  Hon. Yvonne Gonzalez Rogers
                                                                                  UNITED STATES DISTRICT JUDGE
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COOLEY LLP
ATTORNEYS AT LAW                                                                                                [PROPOSED] ORDER
 SAN FRANCISCO                                                                2                        MODIFYING CASE SCHEDULE
                                                                                                 CASE NO. 4:21-CV-02155-YGR-VKD
